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Current State of Animal (Mouse) Modeling in Melanoma
Research
Supplementary Issue: Animal Models of Cancer Biology

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    ABSTR ACT: Despite the considerable progress in understanding the biology of human cancer and technological advancement in drug discovery,
    treatment failure remains an inevitable outcome for most cancer patients with advanced diseases, including melanoma. Despite FDA-approved BRAF-
    targeted therapies for advanced stage melanoma showed a great deal of promise, development of rapid resistance limits the success. Hence, the overall
    success rate of melanoma therapy still remains to be one of the worst compared to other malignancies. Advancement of next-generation sequencing
    technology allowed better identification of alterations that trigger melanoma development. As development of successful therapies strongly depends
    on clinically relevant preclinical models, together with the new findings, more advanced melanoma models have been generated. In this article, besides
    traditional mouse models of melanoma, we will discuss recent ones, such as patient-derived tumor xenografts, topically inducible BRAF mouse model
    and RCAS/TVA-based model, and their advantages as well as limitations. Although mouse models of melanoma are often criticized as poor predictors
    of whether an experimental drug would be an effective treatment, development of new and more relevant models could circumvent this problem in the
    near future.

    KEY WORDS: melanoma, xenografts, patient-derived tumor xenografts (PDTXs), syngeneic models, genetically engineered mouse models (GEMMs)


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Introduction                                                                                  remains inevitable.5,6 Relapse is attributed to the reactivation
Melanoma is the malignancy of the pigment-producing mela-                                     or overactivation of MEK, PDGFR, RAS, COT, or AKT
nocytes in the skin and characterized by its highly aggressive                                pathways and is further complicated by the presence of het-
nature to metastasize to distant organs. Despite recent advances                              erogeneous populations of tumor stem cells. 3,4,7
in melanoma therapeutics, prognosis remains poor, with a                                            Immunotherapy is another exciting treatment strategy
five-year survival rate of 16% for patients with distant metas-                               that has seen comparable clinical successes.8 Two FDA-
tases.1 Furthermore, the incidence of malignant melanoma                                      approved agents, ipilimumab (Yervoy®) and pembrolizumab,
continues to rise year-over-year, with almost 74,000 new cases                                target immune-modulatory proteins (cytotoxic T lymphocyte-
in the United States projected for 2015. As such, melanoma                                    associated antigen 4 [CTLA-4] and programmed cell death
is a significant health issue. Nevertheless, some research                                    protein 1 receptors, respectively) and result in upregulation of
efforts have resulted in a variety of emerging treatment                                      host immune response against melanoma by blocking negative
modalities that offer improved patient outcomes against the                                   T-cell regulators.9,10 In phase III trials, ipilimumab and related
deadly disease. In 2011, the US Food and Drug Adminis-                                        immune therapies have been found to produce improved over-
tration (FDA) approved vemurafenib (Zelboraf®), a mutant                                      all survival.8 However, these agents have also experienced their
BRAF inhibitor for advanced stage melanoma. 2 Unfortu-                                        own challenges. Response rates, ∼10%–15%, have been less
nately, while BRAF-targeted drugs are effective at short                                      than ideal, and both relapse and immune-related side effects
term in inhibiting tumor growth and progression, their                                        have been reported, the mechanisms of which are not wholly
effects are not persistent, and recurrence of metastatic dis-                                 understood.8 Ultimately, the development of new regimens
ease is common. Reports suggest that multiple mechanisms                                      that would resolve the shortcomings of existing solutions will
can lead to development of resistance to BRAF-targeted                                        require a broader understanding of tumor biology. This can
therapies. 3,4 Combining BRAF and mitogen-activated pro-                                      be achieved through the use of in vivo models that accurately
tein kinase kinase (MEK) inhibitors results in better out-                                    simulate true melanoma behavior. Indeed, cancer cells exist
comes than single agents, but resistance, although delayed,                                   as diverse entities surrounded by a microenvironment that

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includes blood vessels, extracellular matrix, and host immune          combined immune-deficient (SCID/SCID) mice that are
cells, each of which play critical roles in the response of            deficient in both T-cells and B-cells, 34 are routinely used
tumors to therapeutic agents. Models must not only recreate            for propagating human cell lines SC (cell line xenografts) to
these features but also recapitulate natural tumor progression,        reconstitute solid tumors. The advantage of this model is that
from proliferation to invasion and metastasis. Representation          it allows human melanoma cells to directly establish interac-
of all these facets will facilitate and advance translation of dis-    tions with the lymphatic and blood vessels to study the tumor
coveries to the clinical setting and ensure rapid delivery of new      growth behavior and drug response in vivo. 35–37 Further,
treatments to melanoma patients.                                       use of similar culture conditions of injected cancer cells (eg,
      The most widely used preclinical model that employs the          number and passage) helps control over the timing of tumor
aforementioned characteristics is the murine model. They owe           growth enabling to generate data that are easily compara-
their ubiquity to their ease of manipulation and availability          ble. For metastatic melanoma cell line xenografts, cells are
as well as existing knowledge base regarding their genetics.           often injected SC and infrequently intradermally. Although
A number of melanoma murine models are used, including                 intradermal injections mimic the primary melanoma better
xenograft, syngeneic, and genetically engineered models.11–18          because of tumor formation, mouse skin becomes ulcerated
Xenograft models involve the culturing and engraftment of              in a short period of time and early termination of the experi-
human melanoma cells into immune-deficient mice. They can              ment is required.
be easily established and manipulated to quickly identify key                SC xenografts can be useful to study metastases. Many
pathways responsible for malignancy. Syngeneic xenograft               metastatic melanoma cell lines have been reported to metasta-
transplantation involves the induction and transplantation of          size spontaneously from the primary xenografts to distant sites
melanoma cells into same species and genetic background.19,20          such as the lung.35,38,39 However, not all metastatic cells injected
As animals can possess a functional immune system in this              SC have the ability to metastasize. For example, human vari-
model, syngeneic transplantations are frequently used to evalu-        ant melanoma cell lines, 1205 Lu and 451 Lu, were selected
ate immunotherapies and interactions between cancer and                from the lung of a nude mouse after several in vivo passages
immune cells, such as dendritic cells.21 Genetically engineered        of WM164 and WM793B melanoma cells isolated from the
models (GEMs) use transgenic mice with modified gene                   metastasis of a melanoma patient. The WM164 or WM793B
expression to determine the mechanisms of melanomagenesis.             cells were not competent for metastasis in nude mice prior to this
These models have been useful in elucidating gene function             selection. These studies show that metastases are produced by
and identifying key targets for therapeutics.22,23 They have           the selective growth of specialized aggressive subpopulations of
been combined with other modes of tumor induction, such as             metastatic cells that preexisted in the parent tumor.40,41 Another
by ultraviolet (UV) or carcinogens, to determine predisposi-           approach is experimental metastases in which tumor cells are
tions and risk factors of melanoma development.1 Each model            injected into the tail vein or retro-orbital vein to form metastatic
reveals unique insights into melanoma behavior, and given              lesions in the lungs. While this approach is frequently used as a
their distinct advantages and disadvantages, it is necessary to        metastasis model, the drawback is that it bypasses actual events
utilize all three to improve our understanding of the disease          of metastasis in a patient scenario.35,36,38,39,42,43
and drive treatment development.                                             Cancer cell lines are the most widely used starting mate-
                                                                       rial for xenograft models, as they are easily available and eas-
Xenograft Transplantation Models                                       ily propagated in immune-deficient mice for in vivo tumor
The development of xenograft models was a big step in moving           growth. However, most of the melanoma cell lines have been
toward more clinically relevant tumor models. 24,25 Since the          established under nonphysiological conditions for several years
first report of the successful xenografting of a human cancer          resulting in selection of clones that differ significantly from
cell line into nude mice in 1969, numerous studies have been           the originating cells and are no longer representative of the
conducted using the xenograft mouse model as a tool to answer          original tumor.
a variety of questions regarding the cause, prevention, and                  Hence, cell line xenograft models are often poorly pre-
therapy of various malignancies, including melanoma.26,27 In           dictive of clinical outcome, and drugs showing efficacy in this
recent years, human tumor xenograft models have been used              model often fail in clinical trials.44 The use of primary mela-
widely to evaluate the targeted therapies27,28 and to test the         noma cells for xenografting has also been reported.45 Primary
combinatorial efficacy of therapeutic agents.11,29,30                  melanoma cells were tittered down to single cells to gener-
      Cell line xenografts. Human tumor xenografts                     ate xenografts in NOD/SCID IL-2 receptor gamma chain
implanted subcutaneously (SC) into immunosuppressed mice               knockout (NSG) mice.45 Whether melanoma xenografts use
have played a significant role in cancer drug discovery for the past   established cell lines or primary tumor cells, owing to disad-
25 years.11,24,25,29–32 This model employs the SC transplantation      vantages mentioned earlier, and the fact that xenografts do
of established human melanoma cell lines into immunocom-               not grow in their natural tissue and have inadequate tumor
promised mice that do not reject human cells. For example,             microenvironments that include the lack of an immune sys-
nude athymic (nu/nu) mice that are T-cell deficient, 33 or severe      tem, better models are required.

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                                                                      Current state of animal (mouse) modeling in melanoma research


      Patient-derived tumor xenografts. In an effort to                 in order to investigate the presence of more than one clonally
address the aforementioned concerns, there has been a recent            derived mechanism of resistance within the original tumor.58
increase in the use of patient-derived tumor xenografts                 A large collection of PDTX models can best represent a
(PDTXs) engrafted into immunocompromised rodents such                   comprehensive patient population with different preexisting
as athymic nude or NSG mice. The history of utilizing PDTX              mutations and susceptibility to generate additional mutations.
models in drug discovery can be traced back to several decades          Another major advantage of using PDTX for target identifica-
ago. One of the earliest reports was by Fiebig et al,46 whose           tion and validation is that the process from target identification
group demonstrated 92% accuracy in predicting the efficacy              to validation and then to efficacy screening can be rationalized
of number of chemotherapy drugs at their respective maximal             around the same models, hence, offering a complete circle from
tolerated doses (MTDs) and 97% in predicting no-response in             the patient to the mouse and then back to the patient.
PDTX models derived from 34 patients.47                                      More recently, concept of PDTX mouse clinical trial is
      Recently, as preclinical models, PDTXs are being char-            evolving and has already started to yield positive results that
acterized and gaining popularity at some point during the pre-          are helpful in guiding clinical management of the patient’s
clinical discovery and translational research stages because of         tumor.61 For this, PDTX models established from the very
significant increases in their availability and affordability.48,49     same patients on trial are being treated ahead of patient
Collecting evidence has now shown that PDTX models are                  therapy or concurrently, and results from the mouse trial are
superior to traditional cell line xenografts, as they maintain          provided in real time. Further powered by the molecular char-
more similarities to the tumors found in actual patients; accu-         acterization of the tumors, this highly personalized approach
rately reflect human cancer and provide a practical solution by         has the potential to revolutionize the drug development and
preserving the fidelity of clinical characteristics; and provide        patient care.62 A potential use of PDTX models in personal-
tumor supply for drug discovery, target identification, and val-        ized therapy of melanoma is depicted in Figure 1.
idation strategies.48,50,51 PDTX models may more accurately                  Although PDTX models present an exciting opportunity
reflect clinical response when treated with therapeutic agents          for improving predictive value of preclinical and translational
at clinically relevant doses.52 Several studies have shown              studies and indicate several advantages over conventional cell
strong conformity in histology, transcriptome, polymorphism,            line xenograft models, just like any other preclinical models,
and copy number variations between PDTX models and par-                 some key challenges that remain before this strategy can be
ent tumors. Strong preservation of the chromosomal architec-            broadly implemented in clinical practice. First, establishment
ture was observed.53–56                                                 of PDTX models is still a technically challenging and time-
      Numerous tumor-specific PDTX models have been                     consuming process. Basically to establish a PDTX model with
established, including melanoma.57,58 Using patient-derived             human melanoma specimens, following surgical removal,
tumor grafts, it is now possible to study the responses of meta-        the viable tumor is dissected into small pieces and directly
static melanomas within in vivo three-dimensional environ-              transplanted SC into nude mice. Time for palpable tumor to
ments. These models are now being used for the identification           develop typically ranges from three to nine months, and in
of drug resistance switches and combination therapy regimens            many cases, tumors fail to develop. Moreover, xenografts from
that prevent drug resistance as well as the modeling of emer-           primary melanomas take even longer. Second, this model uses
gence of drug resistance. For example, recently, a BRAFT1799A           severely immunocompromised host mouse strains, mainly the
mutated melanoma model called HMEX1906 was developed                    nonobese diabetic SCID gamma mice, despite the fact that
by using an early passage, vemurafenib-naive, primary human-            this strain allows higher intake rate and consistent growth of
patient-derived xenograft.47,59 To generate drug-resistant              xenografted human tumors, which do not grow in the context
melanomas, tumor-bearing immunocompromised mice were                    of an intact immune system, thus fail in modeling immune
dosed for eight weeks with 45 mg/kg body weight of vemu-                responses. Even though patient tumor biopsy containing
rafenib. This resulted in .80% inhibition of phosphorylated             human stroma components including immune cells, which
ERK1 and ERK2 for up to 24 hours, which was similar to the              can be grafted together with the tumor tissue,63 they usually
degree of inhibition observed in clinical trials.47,59 However,         cannot survive beyond the first passage, and in the subsequent
56 days after dosing was started, in two out of 10 mice, emer-          expansion, they completely get lost.64 Furthermore, the lack
gence of drug resistance was overserved. Fragments of one of            of functional immune system limits the utility of these mod-
the resistance tumors were harvested, reimplanted into a new            els in studies where immune responses are required; hence,
group of mice, and treated with 45 mg/kg vemurafenib to gen-            immunotherapy cannot be readily studied in this model. It
erate drug-resistant tumors for determining the mechanisms              is well documented and accepted that immune system is an
of resistance.58 There are clear advantages of using these mod-         important part of tumor stroma and significantly contrib-
els. As discussed earlier, PDTX models are heterogeneous in             utes to tumor initiation, progression, and metastasis, as well
nature and more closely reflective of tumors in actual patients.60      as therapeutic response.65 Mice with partially or completely
It permits the sampling of serial biopsies from a single tumor          humanized immune systems can potentially overcome this
and dozens of mice can be created from a single patient sample          issue; however, still significant technical challenges exist.66

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Figure 1. Schematic showing potential use of PDTX models in personalized therapy of melanoma. Tumors surgically removed from patients (1) are
profiled in multiple platforms (2a) and also transplanted into mice for development of PDTX model (2b). PDTX model is serially propagated to test various
therapeutics or their combinations (3). Based on the response of PDTX model, best therapeutic strategy is selected for the patient (4). The tumor profiles
and PDTX efficacy data would be stored in the databases (5) and could provide a useful tool for the selection of therapeutic strategy for new patients (6–8).




Unfortunately, introduction of human fibroblasts and vascu-                       T-cells and B-cells found naturally in the human melanoma
lature is rapidly replaced by murine counterparts.64                              microenvironment.17
      Furthermore, PDTX models are difficult to manipulate                              Syngeneic models employing the B16 cell line. Sev-
genetically compared to cell lines. Most PDTX models are                          eral cell lines have been used for syngeneic transplantations,
established from and passaged as tumor fragments, and con-                        including Harding-Passey cells isolated from the ICR mouse
ventional transfection or transduction are not efficient to genet-                ear and the Cloudman S91cell line obtained from the DBA
ically modify the tumors or introduce detection markers such as                   mouse.69 The most widely used cell type, though, has been the
luciferase or fluorescent proteins.67 Additionally, despite tech-                 B16 cell line that spontaneously forms tumor after chemical
nical advances that have increasingly improved the tumor take,                    induction of melanoma in C57BL/6J mice and gives rise to
success rate still varies because of different tumor types and                    a diverse spectrum of subclones with various propensities for
different subtypes within the same tumor type. Even though                        proliferation, invasion, and metastasis. Two well-established
using PDTX models’ artificial selection in extended culture                       subclones of the B16 melanoma cell line, obtained from in vivo
on plastic can be avoided, the in vivo selection process does                     passaging, include the B16F1 and B16F10 variants. B16F1 is
exist as soon as the tumors are implanted. For instance, high-                    characterized by low metastatic potential and, thus, is useful
grade, fast proliferating tumors tend to be easier to establish as                for studying primary tumor growth.69 Conversely, B16F10 has
PDTX models than low-grade, slowly growing but progressive                        high metastatic potential to distant visceral organs, most nota-
tumors.68 In conclusion, to effectively demonstrate the feasibil-                 bly the lungs, and has been ideal for in vivo studies because of
ity and clinical benefit of the PDTX-guided treatment priori-                     its swift growth pattern and high turnover, inducing death
tization in the patient care setting, properly controlled clinical                within two to four weeks after SC injection into mice.70
trials are needed.                                                                      The B16 cell line is a frequently used model to study the
                                                                                  efficacy of various treatments, especially immune therapies
Syngeneic Transplantation Models                                                  that harness the available T-cells to target melanoma-specific
Syngeneic transplantation models date back to the 1950s and                       antigens in host mice. B16 cells express low levels of major his-
have been recognized as a useful platform for studying mela-                      tocompatibility complex class I markers and are, thus, poorly
noma behavior and metastasis.69 These models have important                       immunogenic because of their inability to be recognized by
benefits over those that use immunocompromised mice as they                       cytotoxic CD8 + T-cells.71 While this has impeded some efforts
allow for the interaction of melanoma cells with competent                        to develop vaccine-based therapies, it has been found that B16

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cells possess high levels of other targetable epitopes associ-         accurate predictor for drug efficacy assessment.23 Despite the
ated with melanoma, including gp100 and tyrosinase related             great use of transgenic animal models, several limitations exist.
protein 2 (TRP2).17 It has been demonstrated that vaccination          Multiple mouse strains need to be interbred in a costly and
of mice with the Trp2 epitope elicited an immune response              labor-intensive manner. In many cases, tumors in multiple tis-
that inhibited B16F10 growth and protected mice from lung              sues can arise, limiting the use of the generated model. Further-
metastasis and partially from SC tumor formation.72 Adjuvant           more, some of the genetic alterations have deleterious effects
therapy with high-dose IL-2 has been found to enhance the              on reproductive fitness; hence, obtaining the desired genotypes
Trp2 vaccine’s anticancer effects.71 Various other cytokines,          would not be possible. However, advancements in molecular
including TNF-α, have been used with similar success to pro-           biology and genetics led to the development of state-of-the-art
long survival of tumor-bearing mice.                                   tissue-targeted inducible expression systems and have helped to
      An obvious disadvantage of B16F10 syngeneic trans-               overcome many of the aforementioned limitations. In the fol-
plantation models is the use of murine cell lines that possess         lowing section together with state-of-the-art melanoma mod-
differences in adhesion proteins and growth factor production          els, various GEMMs of melanoma are discussed.
compared to human melanoma.70 Although B16 cells can give                    CDKN2A models. Earliest findings regarding the gen­
rise to various subclones, they originate from a single, inbred        etics of melanoma were obtained from the linkage studies of
strain of mice and are not representative of the genetic diversity     familial melanoma cases.78,79 Cyclin-dependent kinase inhibi-
of human cells.73 Furthermore, the enzymes and mechanisms              tor 2A (CDKN2A) locus located at 9p21 was identified as a
used for its invasion into host tissues and downregulation of its      melanoma susceptibility region and encodes two well-iden-
apoptotic cascade differ from their human counterparts. Analy-         tified tumor suppressor proteins, p16INK4A and p14ARF
sis of the B16 mutanome has revealed inactivating mutations            (p19ARF in mouse).80 Although these proteins are structur-
in Cdkn2a (responsible for cyclin-dependent kinase inhibitors,         ally unrelated, they are expressed from the alternative read-
p16INK4a and p19Arf) but few activating mutations in BRAF,             ing frames of a common gene (CDKN2A) that is frequently
contrasting human melanomas in which at least 60% of tumors            deleted in both familial and sporadic melanomas. p16INK4a,
express BRAF mutations.74 Similar differences existed in phos-         also known as multiple tumor suppressor 1, acts as an inhibitor
phatase and tensin homolog (PTEN) expression in which its              of G1/S cell cycle progression by blocking the phosphoryla-
absence is implicated by melanoma formation in human beings,           tion of pRB protein via negatively regulating the kinase activ-
but it is notably present in murine B16 cells, among other cell        ity of cyclin D-CDK4 or cyclin D-CDK6 complexes. Hence,
lines.74 Additionally, the speed with which B16 proliferates in        loss of p16INK4A activity leads to bypass of the senescence
C57BL/6 mice impedes long-term analysis of behavior as the             barrier in various malignancies. On the other hand, p14ARF
mice can only be observed for up to four weeks before tumor-           acts as a promoter of cell cycle arrest in G1 and G2 in response
induced mortality occurs.21 As such, there is a skepticism             to aberrant mitogenic signals. It triggers p53 signaling cascade
regarding the use of B16 melanoma cells and it is believed that        by inhibiting mdm2, thus stabilizing p53 protein.
data generated from this model may lead to false conclusions.75              In 1991, Bradl et al generated one of the first genetically
      Other models. Other cell lines have been employed                engineered mouse melanoma models via tyrosinase promoter
in syngeneic transplantation models. Harding-Passey cells              driven, melanocyte-specific expression of simian virus 40
are obtained from the dermal melanoma of ICR mice and                  (SV40) T-antigen.81 Expression of this viral protein was
BALB/c × DBA/2F1 mice and have been used to induce                     analogous to the loss of CDKN2A locus, as it simultane-
intracranial tumors.69 While they cannot metastasize sponta-           ously disrupts pRB and p53 signaling cascades.82 However,
neously, their ability to produce melanin has been particularly        in this model, melanomas were predominantly originating
useful for studies involving the effects of melanin content on         in the eyes, and skin melanomas were infrequent and mostly
the metabolic function of melanoma. The Cloudman S91 cell              benign. In 1994, Klein-Szanto et al incorporated short-term
line, isolated from DBA/2 mice, has been used to assess the            UV irradiation into this model and reported higher incidence
efficacy of several novel anticancer therapies and drug deliv-         of cutaneous melanoma without other skin tumors.83 In 1996,
ery modalities, including targeted polyethylenimine polyplexes         Serrano et al developed a mouse strain with targeted deletion
and nanotransporters.76,77                                             of CDKN2A locus.84 These animals developed various malig-
                                                                       nancies but not melanoma. Later on, several studies suggested
Genetically Engineered Mouse Models                                    that loss of Ink4a or Arf was not enough to trigger mela-
Without doubt, understanding the genetic alterations that trig-        noma development but makes animals susceptible to UVR or
ger melanoma development is an indispensable step for the              carcinogen-induced melanomagenesis.85–87
development of novel melanoma therapeutics. Genetically engi-                RAS models. In the late 1980s, RAS family of proteins
neered mouse models (GEMMs) have been extensively used to              was discovered to be frequently mutated in cutaneous
investigate the effect of genetic alterations in melanoma initia-      melanoma.88–91 About 15%–25% of human melanomas harbor
tion, progression, and metastases (Table 1).22,23 In contrast to       activating mutations in NRAS, whereas Harvey rat sarcoma
other preclinical models, GEMMs are suggested to be a more             viral oncogene homolog (HRAS) and Kirsten rat sarcoma viral

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Table 1. Genetically modified melanoma mouse models.

 GENETIC ALTERATION        ALTERED SIGNALING                      CARCINOGEN   META     REF(S)    NOTES
                           pRB     p53     MAPK    MAPK    PTEN                STASES
                           (p16)   (ARF)   (RAS)   (RAF)   AKT
 NRASQ61R-IRES-Cre                                                None         N.O      117       Mean Survival: ~7 W; 63% penetrance.
 INK4A/ARFf/f Dct-TVA
 NRASQ61R-IRES-Cre                                                None         N/A      117       No tumor formation.
 Dct-TVA
 KRASG12D Cre INK4A/                                              None         N/A      117       No tumor formation.
 ARFf/f Dct-TVA
 p16INK4A -/-                                                     None         N/A      86        At 44 W ~2.5% melanoma and ~23%
                                                                                                  various malignancies.
 p16INK4A -/-                                                     DMBA         N/A      86        Latency: 23 W; Low penetrance (7%);
                                                                                                  Develops various other malignancies
                                                                                                  (72%).
 p16INK4A -/- p19ARF-/-                                           None         N/A      84        No spontaneous melanoma but
                                                                                                  various other malignancies. Median
                                                                                                  survival 32 W.
 p16INK4A -/-                                                     None         N/A      85        No tumor formation upto 17 W.
 p16INK4A -/- p19ARF+/-                                           DMBA         D.M      85        Metastatic melanoma, Low
                                                                                                  penetrance.
 p16INK4A -/- p19ARF-/-                                           None         N.O      96, 139   High penetrance; Latency ~22 W.
 HRAS(G12V)
 p16INK4A -/- p19ARF-/-                                           None         N.O      140       10% penetrance; Several other
 PTEN +/-                                                                                         cancers. Mean survival 20 W.
 p16INK4A -/- Tyr-                                                UV           N/A      141       Low penetrance; Single neonatal UV
 HRAS(G12V)                                                                                       do not effect melanoma development.
 p19ARF-/- Tyr-                                                   UV           N/A      141       Single neonatal erythemal UV acceler-
 HRAS(G12V)                                                                                       ates melanomagenesis.
 CDK4(R24C)                                                       None         D.M      142       Low penetrance.
 CDK4(R24C)                                                       DMBA/TPA     D.M      143       DMBA + TPA increases development
                                                                                                  of skin tumors.
 TP53 -/- Tyr-HRAS(G12V)                                          None         N.O      144       26% penetrance; Latency 17 W.
 Tyr-SV40 T-Ag                                                    None         D.M      81        Metastatic ocular melanomas, low
                                                                                                  penetrance of cutaneous melanoma.
 Tyr-SV40 T-Ag                                                    UV           D.M      83, 145   Neonatal UV; Metastatic melanoma;
                                                                                                  26% penetrance.
 Tyr-HRAS(G12V)                                                   None         N/A      95        No spontaneous melanoma.
 Tyr-HRAS    (G12V)
                                                                  TPA/DMBA/    D.M      95        Melanoma induced by DMBA or
                                                                  UV                              chronic adult UVR but not TPA.
 HGF/SF                                                           None         D.M      133, 134 22% penetrance; Latency ~62 W;
                                                                                                 Various other malignancies.
 HGF/SF                                                           UV           N/A      146       Chronic adult suberythemal UV
                                                                                                  induced non-melanoma tumors.
 HGF/SF                                                           UV           N/A      14        A single dose of UVR to neonates,
                                                                                                  but not adults enhances melanoma
                                                                                                  penetrance.
 HGF/SF                                                           UV           D.M      138       Single neonatal erythemal UV;
 p16INK4A -/- p19ARF-/-                                                                           Latency 7 W.
 MtI-RET                                                          None         D.M      119       Stepwise melanoma development;
                                                                                                  65% penetrance; Latency ~18 W;
                                                                                                  Mean Survival ~42 W.
 RFP-RET                                                          UV           D.M      147       UV irradiation of benign tumors
                                                                                                  promotes progression to malignant
                                                                                                  melanoma.
 MtI-RET; EDNRB -/+        RTK/MAPK/AKT EDNRB                     None         D.M      121       Skips the benign stage of melanoma
                                                                                                  development; 80% of the tumors are
                                                                                                  malignant.
 Tyr-MIP-2                                 CXCL1                  DMBA         N.O      148       DMBA-dependent; 12% penetrance.
 p16INK4A +/- p19ARF+/-


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Table 1. (Continued)

 GENETIC ALTERATION           ALTERED SIGNALING                             CARCINOGEN        META        REF(S)     NOTES
                              pRB     p53       MAPK     MAPK      PTEN                       STASES
                              (p16)   (ARF)     (RAS)    (RAF)     AKT
 BRAFCA(V600E);                                                             None              N.O         103        Hypopigmented tumors in 60%–70%
 Tyr:CreER                                                                                                           of the mice; Latency ~48 W.
 BRAFCA(V600E);                                                             None              N.O         103        Latency ~7 months. Multiple tumors in
 p16INK4A-/-; Tyr:CreER                                                                                              contrast to single ones in p16 wild type
                                                                                                                     background.
 BRAFCA(V600E)/+;                                                           None              N.O         22         Highly pigmented lesions at 3–4 W fol-
 Tyr:CreER                                                                                                           lowing 4-HT administration. No tumors
                                                                                                                     up to ~70 W.
 BRAFCA(V600E)/CA(V600E);                                                   None              N.O         22         Significantly larger and more highly
 Tyr:CreER                                                                                                           pigmented lesions.
 PTENf/f; Tyr:CreER                                                         None              N/A         22         No melanocytic phenotype over
                                                                                                                     ∼72 W.
 BRAFCA(V600E)/CA(V600E);                                                   None              D.M         22         Penetrance 100%; Latency 4–7 W
 PTENf/f; Tyr:CreER                                                                                                  ­following 4-HT administration.
 Tyr:BRAF V600E                                                             None              D.M         104        Benign melanocytic hyperplasia
                                                                                                                     rarely develops metastatic melanoma;
                                                                                                                     Median survival ~42 W.
 Tyr:BRAF V600E; TP53 +/-                                                   None              N/A         104        Increased incidence and decreased
                                                                                                                     latency; Median survival ~15 W.
 Tyr:BRAF V600E;                                                            None              D.M         104        Increased incidence and decreased
 p16INK4A +/- p19ARF+/-                                                                                              latency; Median survival ~24 W.
 BRAFCA(V600E)/+;                                                           None              L.N         116        Rapid development of tumors; Median
 PTENf/f; Tyr:CreER                                                                                                  survival 8 W after tumor induction.
 Dct-TVA; INK4A/ARFf/f;                                                     None              N.O         117        Penetrance 36%; As early as 3 W.
 RCAS(NRASQ61R + Cre)
 Dct-TVA; INK4A/ARFf/f;                                                     None              N.O         117        Penetrance 63%; Median Survival 8 W.
 RCAS(NRASQ61R-
 IRES-Cre)
 Dct-TVA; INK4A/ARFf/f;                                                     None              N/A         118        Metastatic melanoma in 100% of the
 BRAFCA(V600E); PTENf/f                                                                                              mice with a median survival of ~9 W.
 RCAS(Cre)
 Dct-TVA; INK4A/ARFf/f;                                                     None              N/A         118        43% of the mice developed melanoma;
 BRA CA(V600E); RCAS(Cre)                                                                                            Median survival of ~10 W.
 Dct- GRM1                                                                  None              N.O         124        Latency up to 87 W; Penetrance 100%.
 Dct-rtTA; tetHA-                               YAP/TEAD                    None              N/A         128        Latency ~35 W. Requires p16 and p19
 GNAQQ209L                                                                                                           deletion.
 p16INK4A -/- p19ARF-/-

Abbreviations: Tyr, tyrosinase promoter; Dct, dopachrome tautomerase; MtI, metallothionein; Cre, Cre recombinase; f, floxed; CA, Cre activated; W, weeks; N/A,
not available; NO, not observed; LN, lymph node; DM, distal metastasis; dark gray box, directly affected signaling cascades; light gray box, indirectly affected
signaling cascades; DMBA, 7,12-dimethylbenz(a)anthracene; TPA, 12-O-tetradecanoyl-phorbol-13-acetate.




oncogene homolog (KRAS) mutations are very rare (,2%).92–94                         with a shorter latency (60% at 26 weeks).96 It was subsequently
The importance of RAS mutations in melanoma development was                         shown through a doxycycline-inducible HRASV12G version of
studied in vivo through their melanocyte-specific expression in                     this model that the developed tumors were strictly dependent
mice.95–98 Tyrosinase-driven expression of activated HRASV12G                       on HRAS activity since downregulation of HRAS via with-
was not able to trigger spontaneous melanoma development.95,99                      drawal of doxycycline led to their total regression.95 On the
However, in these animals, either UVR or 7,12-dimethylbenz[a]                       other hand, melanocyte-specific expression of NRASQ61K was
anthracene (DMBA) treatment was able to induce melanoma                             able to trigger melanoma development with a low incidence rate
development in a relatively short latency (57% at 52 weeks with                     and high latency (29% at 70 weeks).97 Cross-breeding this mice
UVR; .80% at 45 weeks with DMBA).95,99 Interestingly,                               with p16INK4a/p19ARF knockout mice increased the inci-
p16INK4a was found to be deleted in the developing tumors,                          dence rates, while decreasing the latency (83% at 65 weeks for
and cross-breeding HRASV12G mice with p16INK4a/p19ARF                               INK4a+/− mice and 94% at 42 weeks for INK4a−/− mice). The
knockout mice led to a new model with the capability of devel-                      developed tumors were aggressive and .30% of the animals
oping a large number of spontaneous cutaneous melanomas                             had metastases into lymph nodes and distant organs.97 Another

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NRAS mutation (NRASG12D) was assessed for its potential to           lesion up to 18 months. However, combination of PTEN knock-
induce melanomagenesis when expressed in the melanocytes of          out with mutant BRAF activation (Tyr:Cre-ERT2 BrafCA/+;
developing mouse embryos.100 Despite this mutation was able          PTENlox/lox) significantly enhances melanocytic lesion develop-
to induce melanocytic lesions resembling blue nevi, it failed        ment as early as 7–10 days following tamoxifen application. The
to induce spontaneous cutaneous melanoma up to 24 months.            cooperation between mutant BRAF and PTEN silencing was
However, it triggered development of primary melanoma in the         so strong that all mice rapidly developed advanced metastatic
central nervous system (CNS) of the animals. Although NRAS           malignancy that required euthanasia in 25–50 days. Metastases
is rarely involved in primary melanoma of CNS, it is suggested       to regional lymph nodes and lungs were observed. Similar results
that this model could represent some of the rare cases.101           were obtained when the same genetic modifications were per-
      PTEN/BRAF models. Identification of the PTEN                   formed to C57BL/6J mouse strain.116
deletion and BRAF mutations were two of the greatest discov-               RCAS/TVA system. More recently, with the advance-
eries in melanoma field. In 2002, as an early product of Cancer      ments in molecular biology and retroviral-vector delivery
Genome Project, BRAF was discovered to carry somatic mis-            systems, a new technique called Replication-competent
sense mutations in .65% of malignant melanomas.102 BRAF              avian sarcoma-leukosis virus long terminal repeat with splice
mutations are mutually exclusive to RAS mutations, and taken         ­acceptor/tumor virus A (RCAS/TVA) system has been devel-
together, the mitogen-activated protein kinase (MAPK) sig-            oped to create animal models of diseases.17,18 This system uses
naling is overactivated in more than ~85% of the malignant            a replication-competent avian retrovirus Replication-compe-
melanoma cases. Melanocyte-specific expression of BRAF V600E          tent avian sarcoma-leukosis virus long terminal repeat with
protein consistently leads to benign melanocytic lesions.             splice acceptor/tumor virus A vector to induce delivery of
Although some studies reported induction of melanoma (~54%            cDNAs, short hairpin RNAs, microRNAs, and other non-
at 12 months), others were controversial to these observations        coding RNAs in an efficient, stable, and targeted manner.18
and did not report melanoma development.22,103,104 However,          Targeting to specific cells is established through expression of
loss of p16INK4a or p16INK4A/p19ARF decreases the latency            tva950 or tva800 proteins. Mammalian cells lack these pro-
and increases the tumor penetrance (~80% at 12 months).103,104       teins, hence are normally resistant to infection by RCAS virus.
It has been shown that ~80% of the benign nevi carry BRAF            Ectopic expression of TVA in specific cell types or tissues ren-
V600E mutation, suggesting that BRAF mutation is not suf-            ders their susceptibility to infection by RCAS. This system
ficient to drive melanoma development and requires additional        offers unique advantages in contrast to conventional mouse
alterations.105 In fact, virtually all the tumors that were devel-   models of cancer.17 First of all, multiple genetic alterations can
oped in BRAF V600E mice had increased AKT activity and               be introduced rapidly and in a sequential manner without the
decreased p16INK4A expression.104                                    requirement of crossing multiple mice strains. Hence, RCAS/
      Frequent loss of heterozygosity of chromosome 10q23 in         TVA system could allow rapid assessment of newly identified
melanoma led to the identification of PTEN phosphatase as a          genes on disease progression and maintenance. Second, in
tumor suppressor protein that is deleted in ~20% of uncultured       this model, tumor microenvironment is mimicked better as
primary and 55% of metastatic melanoma tumors.106–110 Dele-          cancer develops from few modified cells that are surrounded
tion of PTEN leads to overactivation of AKT signaling and            by normal cells. Furthermore, combination of this system
frequently accompanies BRAF activation.111–113 In 2006, two          with various genetic engineering approaches, such as Cre-
different groups generated melanocyte-specific inducible Cre         Lox recombination system and Tet-on/Tet-off system, greatly
recombinase (Tyr:Cre-ERT2) transgenic mice.114,115 These mice        enhances the opportunities for development of new mouse
were used to generate state-of-the-art melanoma mouse models         models. For instance, RCAS-mediated delivery of Cre recom-
to investigate BRAF V600E-induced melanoma and its interac-          binase to targeted cells that contain “floxed” genes eliminates
tion with PTEN deletion.22,116 In these models, topical appli-       the need to express Cre recombinase from tissue-specific and/
cation of tamoxifen triggers melanocyte-specific expression of       or inducible promoters, hence preventing leaky expression
Cre recombinase to knockout floxed PTEN gene and/or acti-            problems. However, as each model has its own advantages
vate the mutant BRAF protein expression. In 2009, using this         and disadvantages, RCAS/TVA system has few limitations.
model (Tyr:Cre-ERT2 BrafCA/+), Dankort et al reported that           It requires actively dividing cells, and integration is thought to
melanocyte-specific expression of V600E BRAF triggers forma-         be random, potentially affecting the expression of host genes.
tion of highly pigmented lesions in 21–28 days following topical     Genes that are .3 kb cannot be successfully delivered.
tamoxifen application. These lesions did not progress to malignant         VanBrocklin et al used the RCAS/TVA system to
melanoma up to 80 weeks. Tyr:CreER mice that were homozy-            assess the NRASQ61R-driven melanoma in INK4A/ARF lox/lox
gous for catalytically active BRAF (Tyr:Cre-ERT2 BrafCA/CA)          mice.117 Transgenic mice expressing TV from the dopachrome
developed larger and more highly pigmented than heterozygous         tautomerase (DCT) promoter were crossed with INK4A/
ones indicating the dosage effect of BRAF on melanocyte pro-         ARFlox/lox mice to generate Dct-TVA; INK4A/ARF lox/lox
liferation. On the other hand, melanocyte-specific knockouts of      mice. Administration of RCAS virus encoding NRASQ61R and
PTEN (Tyr:CreER; PTENlox/lox) did not elicit any melanocytic          Cre recombinase led to development of melanomas in 36% of

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the mice in as early as three weeks. Linking the expression of         express GRM1 protein.126 More recently, expression of GRM1
NRASQ61R and Cre by an internal ribosomal entry site (IRES)            was reported in uveal melanoma, and this model was suggested
resulted in tumor formation in 63% of TVA-positive mice.               to be used as a spontaneous uveal melanoma model.127
      The same group crossed Dct-TVA; INK4A/ARFlox/lox mice                  GNAQ model. Another mouse model for a rare subtype of
with BRAFCA; ±PTENlox/lox mice that carry a Cre activated              melanoma, which involves guanine nucleotide-binding protein
BRAFV600E floxed PTEN gene.118 RCAS-mediated delivery of               G(q) subunit alpha (GNAQ) mutation, was recently
Cre recombinase to Dct-TVA; INK4A/ARFlox/lox; BRAFCA;                  developed.128 Although mutation of this gene was rarely
PTENlox/lox mice resulted in metastatic melanoma formation in          observed in cutaneous melanoma (,2%), it is constitutively
100% of the mice with a median survival of 62 ± 6.7 days. In           activated ~50% of primary uveal melanomas because of muta-
wild-type PTEN background (Dct-TVA; INK4A/ARFlox/lox;                  tion of codon 209.129 To investigate the downstream alterations
BRAFCA), 43% of the mice developed melanoma with a slightly            mediated by GNAQ activation and to assess whether activated
increased median survival of 72 ± 6.7 days. However, impor-            GNAQ can drive melanocyte transformation in vivo, Feng et al
tantly, no metastasis was observed in these mice.                      generated a mouse model expressing hemagglutinin A epitope
      RET model. Another mouse melanoma model was gen-                 tagged-mutated GNAQQ209L protein under the control of tet-
erated using RET proto-oncogene, a receptor tyrosine kinase            responsive elements and crossed them with mice expressing the
for glial cell-derived neurotrophic factor (GDNF) family of            reverse tetracycline-activated transactivator (rtTA2) under the
signaling molecules.119,120 In this model, expression of RET           control of Dct promoter (Dct-rtTA). These animals were not
under the control of ubiquitous metallothionein-1 promoter             able to develop melanoma up to 40 weeks. However, when they
leads to melanoma development in a stepwise manner. Accord-            were crossed with mice defective in p16INK4A and p19ARF
ingly, no tumors are observed for several months after birth,          genes, .50% of the mice developed cutaneous melanoma with
which is followed by growth of multiple benign melanocytic             a latency of ~35 weeks, following doxycycline treatment. In the
tumors that eventually become malignant and metastasis to              developing lesions, transcriptional coactivator, Yes-associated
distant organs. During this progression, a gradual increase in         protein 1 (YAP1), was localized to nucleus to drive oncogen-
the expression of RET transgene is observed, which is accom-           esis via association with the TEA domain (TEAD) family of
panied by activation of MAPK and-cJun signaling cascades.              transcription factors.129
      It was discovered that melanomas arising from RET mice                 Taken all together, many different melanoma mouse
express decreased levels of endothelin receptor B protein              models have been established to investigate the significance of
(EDNRB) (an essential receptor for the development of neural           melanoma driving genetic mutations. Models involving dele-
crest-derived cell lineages, including melanocytes).121 Cross-         tion of CDKN2A locus, TP53 and PTEN genes; activation of
breeding RET mice with EDNRB heterozygous ones led to the              GNAQ , GRM1, stem cell factor (SCF), hepatocyte growth
development of a new model that skips the benign stage of mela-        factor/scatter factor (HGF/SF), Met, RAS, and most impor-
noma development and hence mimics de novo melanomagenesis.             tantly, BRAF have been developed. However, new mutations
In this model (MtI-RET; EDNRB-/+), .80% of the develop-                are being identified with the advancement of next-generation
ing tumors were malignant and developed significantly earlier in       sequencing technology.130 Therefore, we hope that in the near
contrast to RET mice with wild-type EDNRB. Although both               future, newer and more advanced melanoma models will be
of these transgenic melanoma models have unique properties,            developed.
their clinical relevance is questionable since overactivity of RET
is rarely observed in human melanomas.122 Moreover, interest-          Induction with Physical Agents or Chemically
ingly tyrosinase promoter-driven melanocyte-specific expres-           Induced Models
sion of RET was not able to trigger melanoma.123                             UVR-induced models. Models that involve the induction
      GRM1 model. Pollock et al accidentally developed mouse           of melanomagenesis through UVR treatment can be useful for
model of melanoma that involves aberrant expression of                 simulating the natural progression of melanoma development
metabotropic glutamate receptor 1 (GRM1).124 Melanocyte-               as it occurs in human beings. However, the difference between
specific expression of GRM1 via Dct promoter was found to              localization of melanocytes within the mice and human skin is
trigger development of spontaneous, highly pigmented mela-             an important concern for mouse melanoma models and, espe-
nomas in skin, eyes, and ear of the animals with 100% pen-             cially, for UVR-induced ones.71 Human melanocytes reside
etrance. In homozygous animals, the onset of the melanomas             primarily in the basal layer of the epidermis and within the
were ~three months, while in heterozygous, they were first             epidermal–dermal junction; hence, susceptible to penetra-
detectable ~seven months. Aberrant GRM1 expression was                 tion by UVR penetration. Mouse melanocytes, however, exist
discovered to contribute to some cases of melanoma. A single-          largely in the roots of hair follicles but rarely at the dermal–
nucleotide polymorphism in this gene was significantly associ-         epidermal junctions.72 While some melanocytes can also be
ated with melanoma susceptibility in patients with a low level         found in the epidermis of hairless regions such as the ears, tail,
of sun exposure.125 Furthermore, in contrast to no-expression          and paws, melanoma rarely develops spontaneously in mice
in normal skin, ~40% of melanoma samples were found to                 as the dermal melanocytes reside deeper in the skin and are

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­ etter protected from UVR.72 As such, melanoma develop-
b                                                                 venting RNA polymerase from actively transcribing and result-
ment in mice presents with distinct histological properties,      ing in gene inhibition.136 The UVB signature mutations such
which are not representative of the human disease.17,122          as CT-.T and CC-.TT transitions may be used for identifi-
      In human melanoma progression, the transition of            cation of UVB-specific damage. Upon UVR stimulation, host
tumor from radial to vertical growth phase (RGP to VGP) is        cells generate a p53-mediated stress response that attempts to
an important measure for clinical outcome and requires inva-      repair UVB signature mutations.72 p53 seems to play a role in
sion of dermis by epidermal melanoma cells.72 Owing to the        UV-related repair, and recent studies have indicated that TP53
absence of melanocytes from the epidermal–dermal junction,        becomes upregulated upon UV irradiation. Existence of addi-
mouse melanoma models lack RGP to VGP progression.                tional mutations, such as BRAF (V600E), contributes to the
To overcome this problem, various approaches have been            development of nevi that indicate melanomagenesis.137
employed.131–133 Induction of keratinocyte-specific expres-             Unlike UVB, UVA causes DNA damage indirectly by
sion of SCF, the ligand for the kit receptor tyrosine kinase,     stimulating photosensitizers, such as melanin, to generate reac-
has been shown to alter melanocyte localization leading to        tive oxygen species (ROS).72 ROS-mediated oxidative stress
development of mice skin that more closely mimics human           triggers formation of oxidized bases such as 8-oxoguanine
skin in contrast to normal mice.131 Similarly, it has been        (8oG) and thymine glycol.136 However, these mutations are
shown that keratin 5 promoter-driven expression of endothe-       less common compared to UVB-triggered CPDs. Molecular
lin 3, a ligand for EDNRB receptor, can compensate for Kit’s      repair mechanisms of UV-induced damage include nucleotide
role in early melanocyte maturation and lead to development       excision repair for bulky CPDs and base excision repair for oxi-
of pigmented mice skin harboring dermal melanocytes.132           dized bases such as 8oGs. Furthermore, failure of DNA repair
      An important melanoma mouse model with unique               could result in mutations and become deleterious if it affects
distribution of melanocytes has been created via overex-          key oncogenes or tumor suppressors, such as p53. Clinically,
pression of HGF/SF under the control of metallothionein           host defense against UVR can be observed through sunburned
gene promoter.133,134 HGF/SF provides important mitogenic         keratinocytes that undergo apoptosis to avoid conversion into
and morphogenic cues to melanocytes and has been impli-           metastatic disease.136 Melanocytes experience comparatively
cated in tumorigenesis through binding of the MET recep-          slower turnover to keratinocytes and are, thus, less likely
tor tyrosine kinase and activation of the MAPK and PI3K           to experience apoptosis and more likely to develop into its
pathways.135 HGF/SF transgenic mice possess melanocytes           malignant form.
in the epidermis, upper dermis, and epidermal–dermal junc-              Genetic mutations may not be the only factor that drive
tion akin to human melanocytes, and the development of            UV-induced tumorigenesis. There is evidence that epigenetics,
metastases after UV irradiation follow human etiology:            the heritable changes in DNA expression, may be affected by
benign nevus, RGP, VGP, and late metastatic spread to vis-        UV irradiation. Epigenetics involve DNA modifications such
ceral organs.133,135                                              as methylation of CpG islands along the DNA transcript or
      Around 22% of the HGF/SF transgenic mice develop            chromatin packing through histone acetylation and deacety-
spontaneous melanomas with a mean onset of 15.6 months;           lation. It has been discovered that following UV treatment,
however, these melanomas do not reflect the human melano-         various tumor suppressors are inactivated by DNA methyla-
mas as they demonstrate a dermal morphology. Exposure of          tion, including CDKN2A and PTEN.72 Further inactivating
neonatal animals to UV radiation results in the development       mutations in histone deacetylases such as HDAC1-3 maintain
of lesions resembling RGP/VGP melanoma and invasive mel-          chromosomes in the relaxed state, increasing its accessibility
anoma with junctional and dermal components.14                    to transcription factors that promote melanoma development.
      HGF/SF transgenic mice have been notably used to            Other genetic risk factors to melanomagenesis have been
determine the band of UV most implicated in melanoma-             determined in UVR models by additional genetic modifica-
genesis. It was found that in neonatal HGF/SF mice, tumori-       tions, such as inactivating Ink4a/Arf, CDK4, or CDKN2A,
genesis occurred after ultraviolet B (UVB) irradiation but        which decreased the latency time to metastasis. 21,138
not after ultraviolet A (UVA) treatment.69 Neither UVA nor              Chemically induced mouse models. Induction of mela-
UVB induced metastatic melanoma in the adult phase, and           noma by UV is the most clinically relevant model to observe
any tumors induced had long latency periods. These findings       melanomagenesis. There are other methods of initiating mela-
emphasize the significance of childhood UV exposure as a risk     noma, although they are less useful at revealing physiologically
factor to melanoma development. The differences in the effects    accurate tumor behavior. DMBA, an immune-suppressing
of UVA and UVB on mouse melanomagenesis can be attributed         polycyclic aromatic hydrocarbon, and TPA, a phorbol ester,
to the mechanisms with which they cause DNA damage. UVB           can both be applied topically to induce skin irritation and
has been found to be more carcinogenic because it can gener-      black lesions that develop into melanoma.69 They are most
ate direct cyclobutane pyrimidine dimers (CPDs) and 6-4PP         commonly used in combination with UV and other geneti-
lesions that are not effectively repaired.72 Both photoproducts   cally engineered models and are still relevant for studying the
cause damage by distorting the integrity of the DNA helix, pre-   effects of immune therapies on tumor growth. A disadvantage

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to the use of chemicals for melanoma induction is that cells           UV, ultraviolet; UVA, ultraviolet A; UVB, ultraviolet B; VGP,
arising from these lesions are nonpigmented, and application           vertical growth phase; YAP1, Yes-associated protein 1.
of chemical agents is not as homogeneous as UV irradiation.73
                                                                       Author Contributions
Conclusion                                                             Wrote the first draft of the manuscript: OFK, FDN, AS.
While cell culture models and in vitro studies are valuable and        Contributed to the writing of the manuscript: OFK, FDN,
essential for testing potential therapies and understanding            MAN, AS. Made critical revisions and approved final version:
the biological processes, molecular physiology, and pathology,         OFK, FDN, MAN, AS. All authors reviewed and approved
as well as effects of gene alterations, it is impossible to fully      of the final manuscript.
recapitulate the complexity of the whole organism and the
microenvironment in which tumors develop. Thus, there is a             Acknowledgements
growing need for the development of effective and efficient in         We thank Dr. Kent Vrana, Chair, Department of Pharma­
vivo model systems that share substantial similarities with the        cology, The Pennsylvania State University College of Medi-
human melanomas so that it is as relevant as possible to increase      cine, Hershey, PA, USA for providing support for this
and improve our understanding of the biology of this disease.          manuscript.
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study melanoma development. In the last decade, numerous
models have been developed that not only permit direct test-           REFERENCES
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